Case 1:17-cv-02511-R.]L Document 54 Filed 12/21/17 Page 1 of 19

FILED

UNITED STATES DISTRICT COURT DEC 2 1 2017

FOR THE DISTRICT OF COLUMBIA
C|erk, U.S. District & Bankruptcy
Courts for the District of Co|umbia

 

UNITED STATES OF AMERICA,
Plal`ntij]",

v. Case No. l:l7-cv-02511-RJL
AT&T INC., DIRECTV GROUP
HOLDINGS, LLC, and
TIME WARNER INC.,

Defendants.

 

 

CASE MANAGEMENT ORDER

This Court, having considered the motions of the parties for entry of their Proposed
Case Management Order, and having conducted hearings on December 7 and 21, 2017,
enters this Case Management Order pursuant to Rule 16 of the Federal Rules of Civil
Procedure and LCvR 16.4:

1. Service of Complaint: Counsel for Defendants, acting on behalf of
Defendants, have accepted service of the Complaint and have waived formal service of a
summons.

2. Discovery Conference. The parties’ prior consultations and submission of
this Order relieve the parties of their duty under F ederal Rule of Civil Procedure 26(f).

3. Completion of Planned Transaction. Defendants agree not to consummate
or otherwise complete the challenged acquisition until the entry of a final and appealable
judgment and, if the Court enters such judgment in favor of Defendants, not to consummate
or otherwise complete the challenged acquisition until 12301 a.m. on the sixth calendar day

following entry of such judgment

Case 1:17-cv-02511-R.]L Document 54 Filed 12/21/17 Page 2 of 19

4. Calculation of Dates. Unless otherwise specified, dates are calculated
according to Rule 6(a) of the Federal Rules of Civil Procedure.

5. Dispositive Motions. Due to the compressed schedule before trial, the
parties agree that no case dispositive motions shall be filed in this action.

6. Discovery of Confidential Information. Discovery and production of
confidential information shall be governed by any Protective Order entered by the Court in
this action, and a copy of all such orders shall be included with any discovery requests,
notices, or subpoenas directed to non-parties.

7. Initial Disclosures. The Parties agree to waive the exchange of disclosures
under Federal Rule of Procedure 26(a)(l) and instead will produce the lnvestigation Materials
pursuant to the terms of this Order.

8. Statement Regarding Local Civil Rule 16.3(c)(3): Assignment to
Magistrate Judge. The Parties do not believe this matter should be assigned to a
magistrate judge for all purposes, including trial.

9. Statement Regarding Local Civil Rules 16.3(c)(4) and (5): Settlement
Possibilities and ADR. All Parties have engaged in good-faith settlement negotiations, but
despite their efforts, have not been able to settle the matter. Defendants do not believe that
this case would benefit from some form of alternative dispute resolution (other than the
court’s ADR procedures). The Plaintiff does not believe that this case would benefit from
some form of alternative dispute resolution.

10. Duty to Confer and Pre-Motion Conference Requirement. Counsel are
required, under Federal Rules of Civil Procedure 26(0)(1) and 37(a)(l) and Local Civil Rule

7(m), to confer in good faith in an effort to resolve any dispute before bringing it to this

2

Case 1:17-cv-02511-R.]L Document 54 Filed 12/21/17 Page 3 of 19

Court’s attention.

ln addition, a pre-motion conference with the Court is required before making any

motion in this case, with the exception of motions previously authorized by the Court,
motions brought by order to show cause, motions for admission pro hac vice, motions for
reargument or reconsideration, motions described in Rule 6(b) of the Federal Rules of Civil
Procedure and Rule 4(a)(4)(A) of the Federal Rules of Appellate Procedure, and instances

where a litigant believes that delay in filing might result in the loss of a right.

To arrange a pre-motion conference, counsel should describe their disputes in a single
letter, jointly composed, not to exceed four pages in length. Separate and successive letters
will not be read. The letter should be submitted directly to chambers The letter should set
forth the basis of any disputes, describe any anticipated motions, and request an informal l
conference, The letter must include a representation that the meet-and-confer process occurred
and was unsuccessful. As a general matter, affidavits and exhibits are not permitted in
connection with pre-motion letters without prior written request and permission. If an
opposing party refuses to contribute to the joint letter or does not provide its portion of a joint
letter within 48 hours of a party’s request, a party may submit a letter without the opposing
party’s contribution and shall attach a copy of the correspondence seeking the opposing
party’s contribution. Upon review of the letter, the Court will inform the parties whether a
telephone conference with the Court is needed. Counsel should be prepared to discuss with
the Court matters raised by such letters, as the Court will seek to resolve disputes quickly, by
order, conference, or telephone.

All motions, whether filed through the Electronic Filing System (ECF) or otherwise,

must be accompanied by a proposed order setting forth the relief or action sought. Under no

Case 1:17-cv-02511-R.]L Document 54 Filed 12/21/17 Page 4 of 19

circumstances shall the signature line appear alone on a page of the proposed order.

11. Investigation Materials and Similar Post-Complaint Materials.

(a) Dei`lnitions of Investigation Materials. “Investigation Materials”
means non-privileged correspondence, documents, data, written information or statements,
transcripts of testimony, exhibits used during testimony, declarations (including drafts),
affidavits (including drafts), Civil Investigation Demands, informal requests for information,
and other materials that:

(i) were exchanged between any Defendant, or affiliated person or entity,
and Plaintiff, either voluntarily or under compulsory process, during,
and in connection with the Investigation; or

(ii) were exchanged between any counsel for a Party who provided legal
services to the Party in connection with the Investigation and any
non-party not having an attorney-client or common-interest

l relationship with the Party (e.g., experts, consultants, and counsel for
co-Defendants), where such communications were made for the
purposes of the Investigation.

(b) Production. The parties will produce, consistent with the timeframe
listed in the Proposed Scheduling Order and the Stipulated Protective Order, all
Investigation l\/Iaterials, regardless of whether the materials were received informally or
through compulsory process (such as a subpoena or Civil Investigative Demand) and
regardless of Whether a party received the materials in hard-copy or electronic form. The
Parties will promptly and on a rolling basis produce the Investigation Materials consistent

with this schedule and the terms of the Protective Order. The Parties, during this case, will

Case 1:17-cv-02511-R.]L Document 54 Filed 12/21/17 Page 5 of 19

neither request nor Seek to compel the production of any notes of interviews conducted by
counsel, memoranda of such interviews, or recitation of information contained in such
notes or memoranda (absent any waiver) except for such material relied upon by a
testifying expert and not produced in compliance with paragraph 21(b)(ii). Nothing in this
Order requires the production of any Party’s attorney work product, confidential attomey-
client communications, communications with or information provided to any potentially or
actually retained expert, or materials subject to the deliberative process or any other
governmental privilege. Notwithstanding the definition of Investigation Materials,
Plaintiff need not produce back to Defendants documents, data, or other materials
originally received from Defendants, either voluntarily during the Investigation or in
response to any request during the lnvestigation, and nor shall Plaintiff need produce to a
Defendant documents, data, or other materials received from any other Defendant, either
voluntarily during the Investigation or in response to any request during the Investigation.
Defendants may, at their discretion, produce documents they respectively produced to
Plaintiff during the lnvestigation to each other. Defendants need not produce back to the
United States documents, data, or other materials originally produced to the United States,
either voluntarily during the Investigation or in response to any request during the
Investigation.

(c) Privilege. Pursuant to Federal Rule of Evidence 502(d), the
production of Investigation Materials does not constitute a waiver of any protection that
would otherwise apply to any other attorney work product, confidential attorney-client
communications, or materials subject to the deliberative-process or any other governmental

privilege concerning the same subject matter as such Investigation Materials.

Case 1:17-cv-02511-R.]L Document 54 Filed 12/21/17 Page 6 of 19

(d) Data Compilations. In response to any Rule 34 requests for data or
data compilations, the Parties will meet and confer in good faith regarding the requests and
the timing of any data production and make employees knowledgeable about the content,
storage, and production of data available for informal consultations during a meet-and-
confer process.

(e) Confidentiality. The parties shall treat all Investigation
Materials provided pursuant to paragraph ll(b) as “Confidential Information,” as
described in the Protective Order entered by this Court on December 8, 2017 in this
case,

12. Fact Witness Lists. Plaintiff is limited to 35 natural persons on its
preliminary trial fact witness list, and the Defendants collectively are limited to 35 natural
persons on their preliminary trial fact witness list. The preliminary fact witness lists must
provide the address and telephone number of each witness.

Plaintiff is limited to 30 natural persons on its final trial fact witness list, and the
Defendants collectively are limited to 30 natural persons on their final trial fact witness list.
Each witness for which a side offers deposition designations to be offered at trial must be
included as a witness on that side’s final trial fact witness list, and this designation shall
count against the 30 natural person limit. Each side’s final trial fact witness list may
identify no more than 7 fact witnesses that were not identified on that side’s preliminary
trial fact witness list. If any new fact witnesses are added to a final trial fact witness list
that were not on that side’s preliminary trial fact witness list, a deposition by the other side
of such witness does not count against that other side’s total deposition time. The final trial

fact witness lists must comply with Federal Rule of Civil Procedure 26(a)(3)(A)(i)-(ii).

Case 1:17-cv-02511-R.]L Document 54 Filed 12/21/17 Page 7 of 19

The parties will meet and confer regarding whether and when to exchange deposition
designations, and obj ections, and will thereafter submit an agreed upon order _ or, if
necessary, competing orders - with a schedule for the Court’s consideration

ln preparing preliminary trial fact witness lists and final trial fact witness lists, the
parties must make good-faith attempts to identify the witnesses (excluding expert witnesses)
whom they expect that they may present at trial other than solely for impeachment No party
may call a person to testify at trial unless (a) that person was identified on that party’s final
trial fact witness list; (b) all parties agree that that party may call that person to testify; or (c)
that party demonstrates good cause for allowing it to call that person to testify, despite that
party’s failure to identify that person sooner.

13. Timely Service of Fact Discovery and Supplemental Discovery. All
discovery, including discovery served on non-parties, must be served in time to permit
completion of responses by the close of fact discovery, except that Supplemental Discovery
must be served in time to permit completion of responses by the close of Supplemental
Discovery. For purposes of this Order, “Supplemental Discovery” means document and
deposition discovery, including discovery served on non-parties, related to any person
identified on a side’s final trial fact witness list who was not identified on that side’s
preliminary trial fact witness list (including document and deposition discovery related to
entities related to any such person). Depositions that are part of Supplemental Discovery
must be noticed within 7 days of exchange of the final trial fact witness lists.

14. Written Discovery on Parties.

(a) Requests for Production. There is no limit on the number of requests

for the production of documents that may be served by the parties. The parties must serve

Case 1:17-cv-02511-R.]L Document 54 Filed 12/21/17 Page 8 of 19

any objections to requests for productions of documents within 5 business days after the
requests are served. Within 2 business days of service of any objections, the parties must
meet and confer to attempt to resolve any objections and to agree on custodians to be
searched. Responsive productions (subject to any objections or custodian issues that have
not been resolved) must be made on a rolling basis and must begin no later than 21 days
after service of the request for production. Responsive productions must be completed no
later than 21 days after resolution of objections and custodian issues. Notwithstanding any
other part of this paragraph, in responding to requests for production of documents that are
part of Supplemental Discovery, the parties must (a) serve any objections to such requests
for production of documents within 3 business days after the requests are served; (b) make
responsive productions (subj ect to any objections or custodian issues that have not been
resolved) on a rolling basis; and (c) complete such productions no later than 7 business days
after the requests are served.

(b) Document Productions. The Defendants agree that all documents
produced from their files during discovery shall be produced in compliance with Plaintiffs
standard specifications for production of electronically stored information and in the same
agreed to format as documents produced from their files during Plaintiffs investigation of the
Proposed Transaction.

(c) Requests for Data. In response to any requests for data or data
compilations, the parties will meet and confer in good faith regarding the requests and will
make employees knowledgeable about the content, storage, and production of data available
for informal consultations during the meet-and-confer process. The parties must serve any

objections to requests for data or data compilations within 5 business days after the requests

Case 1:17-cv-02511-R.]L Document 54 Filed 12/21/17 Page 9 of 19

are served. Within 2 business days of service of any objections, the parties must meet and
confer to attempt to resolve any obj ections. Throughout the meet-and-confer process, the
parties will work in good faith to enable the complete production of data or data
compilations no later than 14 days after service of the requests for production

(d) Interrogatories. Interrogatories are limited to 15 (including discrete
subparts) by the United States to the Defendants collectively and to 15 (including discrete
subparts) by Defendants collectively to the United States. Unless otherwise agreed, the
parties shall respond in writing to interrogatories within 21 days after service. Within 2
business days of service of any objections, the parties must meet and confer to attempt to
resolve any objections.

(e) Requests for Admission. Requests for admission are limited to 7 by
the United States to the Defendants collectively and to 7 by Defendants collectively to the
United States. Requests for admission relating solely to the authentication or admissibility of
documents, data, or other evidence (which are issues that the parties shall attempt to resolve
initially through negotiation) do not count against these limits. Unless otherwise agreed, the
parties must respond in writing to requests for admissions within 21 days after service.
Within 2 business days of service of any objections, the parties must meet and confer to
attempt to resolve any objections,

15. Written Discovery on Non-Parties. The parties will in good faith cooperate
with each other with regard to any discovery to non-parties in an effort to minimize the
burden on non-parties. Each party must serve a copy of any discovery request to a non-party
on the other side at the same time as the discovery request is served `on the non-party. Every

discovery request to a non-party shall include a cover letter requesting that (a) the non-party

Case 1:17-cv-02511-R.]L Document 54 Filed 12/21/17 Page 10 of 19

stamp each document with a production number and any applicable confidentiality
designation prior to producing it; (b) the non-party provide to the other side copies of all
productions at the same time as they are produced to the requesting party; and (c) the non-
party provide to the other side copies of all written correspondence with any party
concerning the non-party’s response to or compliance with any discovery request (including
any extensions or postponements) within 1 business day of the correspondence Each party
requesting the discovery shall also provide to the other side copies of all written
correspondence with the non-party concerning the non-party’s response to or compliance
with the discovery request (including any extensions or postponements) within 1 business
day of the correspondence If a non-party fails to provide copies of productions and
correspondence to the other side, the requesting party shall provide such copies to the other
side within 3 business days of the requesting party receiving such materials from the non-
party. If a non-party fails to stamp its documents with a production number and
confidentiality designation, the requesting party shall as soon as practicable after receiving
the documents from the non-party apply such stamp and produce the stamped copies to the
other side

16. Depositions. Each side is permitted to take up to a maximum of 150 hours of
party depositions and 100 hours of non-party depositions. During non-party depositions, the
non-noticing side shall receive at least two hours of examination time If a non-party
deposition is noticed by both sides, then time shall be divided equally between the sides.
Any time allotted to one side not used by that side in a non-party deposition may be used by
the other side up to the 7-hour limit in total. Any party may further depose any person

whose deposition was taken pursuant to a Civil Investigative Demand, and the fact that

10

Case 1:17-cv-02511-R.]L Document 54 Filed 12/21/17 Page 11 of 19

such person’s deposition was taken pursuant to a Civil Investigative Demand may not be
used as a basis for any party to object to that person’s deposition. The Parties reserve the
right to seek from the Court additional total deposition time with particular non-parties or
to seek a different allocation of time than the allocations that are set forth above

If a party serves on a non-party a subpoena for the production of documents or
electronically stored information and a subpoena commanding attendance at a deposition, the
scheduled deposition date must be at least 7 business days after the return date for the
document subpoena. If extending the date of production for the document subpoena results
in fewer than 7 business days between the extended production date and the date scheduled
for that non-party’s deposition, the date scheduled for the deposition must be postponed to
be at least 7 business days following the extended production date, unless the other party
consents to fewer than 7 business days.

The following depositions do not count against the 150 hours cap imposed on party
depositions or the 100 hours cap imposed on non-party depositions: (a) depositions of any
persons identified on a side’s preliminary or final trial witness list; (b) depositions of the
parties’ designated expert witnesses; (c) depositions taken pursuant to Civil Investigative
Demands; and (d) depositions taken for the sole purpose of establishing the location,
authenticity, or admissibility of documents produced by any party or non-party, provided
that such depositions may be noticed only after the party taking the deposition has taken
reasonable steps to establish location, authenticity, or admissibility through other means, and
further provided that such depositions must be designated as being taken for the sole
purpose of establishing the location, authenticity, or admissibility of documents at the time

that they are noticed. Notwithstanding the foregoing limits and exceptions for fact witness

ll

Case 1:17-cv-02511-R.]L Document 54 Filed 12/21/17 Page 12 of 19

depositions, the Parties reserve their right to seek Court relief to the extent they believe that
certain depositions are unwarranted.

Depositions of fact witnesses are limited to no more than one (7-hours on the record)
day unless otherwise stipulated. Parties will make witnesses available for deposition upon 7
business days’ notice Parties will make their employees available for depositions in
Washington, D.C.

17 . Evidence from a Foreign Country. Before either side may offer
documentary or testimonial evidence from an entity or person located in a foreign country,
the other side must be afforded an opportunity by the entity or person (or both, when
applicable) to obtain documentary and deposition discovery.

18. Privilege Logs.

(a) Production of Documents Involving Privilege Material. All non-
privileged portions of any responsive document (including any non-privileged or redacted
family members) as to which a privilege claim is asserted must be produced. When any
family member of a produced document is withheld for privilege, the producing party will
insert a placeholder indicating that a document has been withheld from the family on claim
of privilege or, if the withheld family member is not responsive, that a non-responsive
document has been withheld from the family on the claim of privilege

(b) Exclusions from Privilege Logs. The parties agree that the
following privileged or otherwise protected communications may be excluded from
privilege logs:

(i) documents or communications sent solely among outside counsel

for the Defendants (or persons employed by or acting on behalf
of such counsel);

12

Case 1:17-cv-02511-R.]L Document 54 Filed 12/21/17 Page 13 of 19

(ii)

(iii)

(iV)

(V)

(Vi)

(vii)

(viii)

(iX)

(X)
(Xi)
(xii)

(xiii)

documents or communications sent solely among counsel of the
United States (or persons employed by or acting on behalf of the
United States Department of Justice);

documents or communications sent solely among counsel for
the United States and counsel for the state attorneys general
(or persons employed by the U.S. Department of Justice or the
state attorneys general);

documents or communications sent solely among counsel of the
United States (or persons employed by the United States
Department of Justice) and counsel for any independent agency
of the federal government;

documents or communications sent solely among counsel for
the United States and counsel for any foreign competition
agency or other government agency (or persons employed by
the United States Department of Justice or such foreign agency
or other government agency);

documents or communications sent solely among outside
counsel for either Defendant and inside counsel for that
Defendant;

documents that were not directly or indirectly furnished to any
non-party, such as internal memoranda, and that were authored
by the Parties’ outside counsel (or persons acting on behalf of
such counsel) or by counsel for the Plaintiff (or persons
employed by Plaintiff);

non-responsive, privileged documents attached to responsive
documents. When non-responsive, privileged documents that
are attached to responsive documents are withheld from
production, however, the parties will insert a placeholder to
indicate a document has been Withheld from that family;

privileged documents relating exclusively to the preparation
of requests for or responses to any Second Request or Civil
Investigative Demand;

privileged draft contracts;

draft litigation filings;

draft regulatory filings; and

non-responsive, privileged documents attached to
responsive documents,

13

Case 1:17-cv-02511-R.]L Document 54 Filed 12/21/17 Page 14 of 19

(c) Privilege Log Format. The Parties also agree to the following
guidelines concerning the preparation of privilege logs: (a) a general description of the
litigation underlying attorney work-product claims is permitted; (b) identification of the
name and the company affiliation for each non-defendant person is sufficient identification;
(c) identification of the name and the department for each defendant person is sufficient
identification; and (d) for documents redacted for privilege, the privilege log need only
provide the Bates number, an indication that the document Was produced in redacted form,
information that can be population from the metadata of the document, the type of privilege
being asserted, and the basis for the privilege

(d) Name Index. The privilege log will be produced along with a separate
index containing an alphabetical list (by last name) of each name on the privilege log,
identifying titles, company affiliations, the members of any group or email list on the log
(e.g., the Board of Directors), and any name variations used in the privilege log for the same
individual.

(e) Designation of Attorneys. For each entry of the privilege log, all
attorneys acting in a legal capacity with respect to that particular document or
communication will be marked with the designation ESQ after their names (include a
space before and after the “ESQ”). Similarly, in the separate index of names, counsel for
a party shall be marked with the designation ESQ in a separate column.

19. Inadvertent Production of Privileged or Work Product Documents or
Information. Pursuant to and consistent with Federal Rule of Evidence 502(d), if a
document or information subject to a claim of attorney-client privilege, work-product
immunity, or any other relevant privilege or immunity under relevant federal case law and

rules, production of which should not have been made to any party, is inadvertently

14

Case 1:17-cv-02511-R.]L Document 54 Filed 12/21/17 Page 15 of 19

produced to such party, such production shall in no way prejudice or otherwise constitute a
waiver of, or estoppel as to, any claim of privilege, work product, or any other ground for
withholding production to which the party producing the documents or information
otherwise would be entitled.

20. Presumption of Authenticity. Documents produced by parties and non-
parties from their own files shall be presumed to be authentic within the meaning of Federal
Rule of Evidence 901. Any good-faith objection to a document’s authenticity must be
provided with the exchange of other objections to intended trial exhibits. lf the opposing
side serves a specific good-faith written objection to the document’s authenticity, the
presumption of authenticity will no longer apply to that document and the parties will
promptly meet and confer to attempt to resolve any objection. Any objections that are not
resolved through this means or the discovery process will be resolved by the Court.

21. Expert Witness Disclosures and Depositions. Expert disclosures, including
each side’s expert reports, must comply with the requirements of Federal Rule of Civil
Procedure 26(a)(2), except as modified by this paragraph

(a) Neither side must preserve or disclose for purposes of complying
with Rule 26(a)(2), including in expert deposition testimony,`the following documents or
materials:

(i) any form of oral or written communications, correspondence
or work product not relied upon by the expert in forming any
opinions in his or her final report shared between:

(A) the expert and any persons assisting the expert;
(B) any parties’ counsel and their experts, or between any

agent or employee of any parties’ counsel and their
experts;

15

Case 1:17-cv-02511-R.]L Document 54 Filed 12/21/17 Page 16 of 19

(ii)

(iii)
(iv)

(C) testifying and non-testifying experts;
(D) non-testifying experts; or
(E) testifying experts;

expert’s notes, except for notes of interviews participated in or
conducted by the expert of persons on any party’s preliminary
trial witness list or final trial witness list if the expert relied
upon such notes in forming any opinions in his or her final
report;

drafts of expert reports, contracts, affidavits, or declarations; and
data formulations, data runs, data analyses, or any database-

related operations not relied upon by the expert in forming any
opinions in his or her final report.

(b) The parties agree that the following materials will be disclosed at the

same time that each expert report is served:

(i)

(ii)

(iii)

(iv)

(V)

(Vi)

a list of all documents relied upon by the expert in forming
any opinions in his or her report, including Bates numbers
of documents previously produced;

copies of all materials relied upon by the expert in forming any
opinions in his or her report that were not previously produced
and that are not readily available publicly;

a list of all publications authored by the expert in the previous
10 years;

copies of all publications authored by the expert in the previous
10 years that are not readily available publicly;

a list of all other cases in which, during the previous 4 years,
the witness testified as an expert at trial or by deposition,
including tribunal and case number; and

for all calculations appearing in the rcport, all raw data and
programs underlying the calculations, including all programs
and codes necessary to recreate the calculations from the initial
(“raw”) data files.

(c) The court’s schedule allows for an initial and rebuttal report. Any

additional supplemental report may not be served without leave of court.

16

Case 1:17-cv-02511-R.]L Document 54 Filed 12/21/17 Page 17 of 19

Each expert will be deposed for only one (7-hours on the record) day, with all 7 hours
reserved for the side noticing the expert’s deposition. Depositions of each side’s experts will
be conducted only after disclosure of all expert reports and all of the materials identified in
paragraph 21(b) for all of that side’s experts.

22. Trial Procedures Order. The Parties will meet and confer in good-faith
regarding a trial procedures order to govern issues concerning the number of trial exhibits,
the timing and manner of the exchange of exhibit lists and deposition designations, including
counter-designations and objections to the admissibility of any such exhibits and
designations, exchange of demonstratives to be used at trial and objections to those
demonstratives, and to address the treatment of confidential information at trial, including
confidential information produced by non-parties and notice to those non-parties whose
confidential information might be used at trial. After meeting and conferring on these
issues, the Parties will, by the date indicated in the Court’s Scheduling Order, either jointly
submit a proposed trial procedures order addressing these and any other issues the Parties
consider appropriate for the Court’s consideration, or, if they fail to reach agreement on all
of the issues to be addressed by the order, the Parties will submit separate proposed orders
with a short memorandum briefly explaining the differences between the competing orders
and the basis for their position. The Court will address any unresolved issues at the Final
Pretrial Conference

23. Service of Pleadings and Discovery on Other Parties. Service of all
pleadings, discovery requests (including subpoenas for testimony or documents pursuant to
Federal Rule of Civil Procedure 45), expert disclosures, and delivery of all correspondence

in this matter shall be made by ECF or email, except when the volume of attachments

17

Case 1:17-cv-02511-R.]L Document 54 Filed 12/21/17 Page 18 of 19

requires overnight delivery of the attachments or personal delivery, to the following

individuals designated by each party:

For Plaintijjf United States OfAmerl'ca:

Alvin H. Chu

Peter Schwingler

Eric D. Welsh

Craig Conratli

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18

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Case 1:17-cv-02511-R.]L Document 54 Filed 12/21/17 Page 19 of 19

For purposes of calculating discovery response times under the Federal Rules of
Civil Procedure, electronic delivery at the time the email was received shall be treated in
the same manner as hand delivery at that time However, for any service other than
service of court filings, eniail service that is delivered after 6:00 p.m. Eastern Time shall
be treated as if it was served the following business day.

24. Nationwide Service of Trial Subpoenas. To assist the parties in planning
discovery, and in view of the geographic dispersion of potential witnesses in this action
outside this District, the parties shall be permitted, pursuant to 15 U.S.C. § 23, to issue trial
subpoenas that may run into any other federal district requiring witnesses to attend this
Court. The availability of nationwide service of process, however, does not make a
witness who is otherwise “unavailable” for purposes of Federal Rule of Civil Procedure 32
and Federal Rule of Evidence 804 available under those rules or otherwise affect the
admissibility at trial of a deposition of a witness.

25. Modification of Case Management Order. Any party may seek
modification of this Order for good cause The Court maintains the right to modify this Order
as is necessary to address the issues presented in this case and accommodate its obligation to
resolve other time-sensitive legal matters on its docket.

SO ORDERED.

DATED; /Z{/Z/{//? qM[m)

R_lCHARD(`:l-|:'E,
United States District Judge

 

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